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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

BOARD OF TRUSTEES OF THE IUOE LOCAL )
4 PENSION FUND, et al.,             )
                                    )
                 Plaintiffs,        )
                                    ) Civil Action No. 1:21-cv-10163-FDS
           v.                       )
                                    )
GINA ALONGI,                        )
                                    )
                 Defendant.         )

                                               ORDER

        Upon consideration of the Plaintiffs’ Motion for Partial Summary Judgment, and the

Memorandum of Law in Support thereof, their Concise Statement of Material Facts of Record,

and the Appendix thereto, and having considered the Opposition filed by Defendant, it is this

______ day of __________________,

        ORDERED that judgment for liability against Defendant for fiduciary breach is entered on

behalf of the Plaintiffs for each claim brought in this lawsuit, and it is further

        ORDERED that this matter be set for further proceedings regarding the damages to which

Plaintiffs are entitled as a result of these fiduciary breaches.

        IT IS SO ORDERED this _______ day of ______________________.



                                                        __________________________________
                                                        F. Dennis Saylor IV
                                                        Chief United States District Judge




cc: All Counsel of Record
